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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------x   Civil Action No.
  JAMES H. BRADY,                                                        20-CV-7047 (LJL)

                                               Plaintiff,

                -against-

  GREGORY SHEINDLIN, ESQ, and
  THE SHEINDLIN LAW FIRM,

                                                Defendants.
 --------------------------------------------------------------------x




                                   MEMORANDUM OF LAW




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                                    PRELIMINARY STATEMENT

         Frivolous actions, such as the present action, should be dismissed pursuant to a Rule

    12(b)(6) motion or sua sponte pursuant to the courts’ inherent authority. Fitzgerald v. First East

    Seventh Street Tenants Corp., 221 F.3d 352 (2d Cir. 2000) [Courts’ inherent authority to dismiss

    frivolous action sua sponte]. As a matter of legal precedent, Plaintiff James H. Brady (“Brady”)

    is a serial litigator who files frivolous lawsuits against his adversaries, their lawyers and judicial

    officials in his incessant quest to collaterally attack the validity of a judgment against him from

    a state-court action titled IGS Realty Co, LP v. Brady (Sup. Ct. N.Y. Cty.), Index No.

    603561/2009 (“IGS Realty I”). See Brady v. IGS Realty Co., LP, Case No. 19-cv-10142 (PAE)

    (OTW) (“Brady I”) (S.D.N.Y. 07/20/2020) [In support of Magistrate Judge Ona T. Wang’s

    Report recommending a dismissal of Brady’s action, it discussed facts regarding Brady’s serial

    litigation conduct] (ECF 50 1); Id. (S.D.N.Y. 09/08/2020) [In support of court’s Decision to

    dismiss Brady’s action, it described its adoption of facts in Judge Wang’s Report] (ECF 51);

    and Id. (S.D.N.Y. 10/13/2020) [In support of court’s Decision to issue a filing injunction, it

    discussed trend for Brady to sue those who represent his adversaries] (ECF 86). Here, Brady’s

    Second Amended Complaint (“SAC”) is, once again, collaterally attacking the validity of the

    judgment in IGS Realty I, although this time it is under the guise of suing its attorneys for alleged

    improprieties during the litigation and enforcement of the judgment. See Exh. A, ¶¶ 2, 13, 14,

    15, 20, 21, 24. Brady’s action should be dismissed in its entirety and with prejudice pursuant to



1
    All ECF references will be for documents filed in Brady I.
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 the Rooker-Feldman doctrine, res judicata, collateral estoppel, the Noerr-Pennington doctrine

 (See Suburban Restoration Co, v. ACMAT Corp., 700 F.2d 98 [2d Cir. 1983]) or sua sponte

 pursuant to the Court’s inherent authority. Fitzgerald, Supra.

                                     STATEMENT OF FACTS
       IGS Realty I was commenced in 2009. The action arises from a state-court litigation by

IGS Realty Co, LP (“IGS”) against Brady, as the guarantor of unpaid rents for commercial spaces

leased by three companies wholly owned by Brady. Exh. A [Sub-exhibit 3 of the SAC,

Def. 212]. On June 26, 2015, a jury rendered a verdict in favor of IGS and against Brady for

breach of the guarantee agreements. Id. (Sub-exhibit 5, Def. 117-119 [Trial Transcript]). On May

31, 2017, the court (Ostrager, J.) entered judgment against Brady in the amount of

$1,458,002.33 (“Judgment”). Exh. A (Sub-exhibit 7, Def. 142-146). In IGS Realty I, Sheindlin

represented IGS in its hearing to determine attorneys’ fees and, later, for the filing of the

Judgment. Sheindlin Decl., ¶4; Exh. A (Sub-exhibit 7, Def. 142-146 [Judgment]).

       On October 27, 2017, IGS filed an Article 52 enforcement proceeding, captioned IGS

Realty Co, LP v. James Brady et. al., index number 159554/2017, to enforce the Judgment. Exh.

A (Sub-exhibit 4, Def. 32-48). On September 4, 2018, IGS received full payment (Exh. A (Sub-

exhibit 1, Def. 15 [Check payable to Marshall] for the Judgment and filed its Satisfaction of

Judgment 3 (Exh. B).



2. The SAC inclusive of its supporting exhibits 1-7 contains 146 pages. For efficiency in identifying
referenced pages, the SAC pages were “Bates-stamped” Def. 1-146.
3. Defendants’ respectfully request the Court take judicial notice of this e-filed document, NYSCEF
Doc. No. 345, in IGS Realty I.
                                                     2
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       In IGS Realty I, the Court of Appeals and Appellate Division considered and denied

Brady's appeals and motions that argued against the validity of the judgment and its enforcement.

IGS Realty Co, L.P. v. Brady, 32 NY3d 901 (2018) [Denied motion for leave to appeal], IGS

Realty Co, L.P., 32 NY3d 1053 (2018) [Denied motion to reargue] and IGS Realty Co., L.P. v.

Brady, 162 AD 3d 444 (1st Dept. 2018) [Affirmed Judgment and noted that Brady’s arguments on

this appeal were previously raised and rejected]; and IGS Realty Co, LP v. Brady, 149 AD3d 524

(1st Dept. 2017) [Affirmed trial court’s denial of Brady’s motion to set aside the jury verdict].

       On October 31, 2019, in Brady I, Brady filed a 66-page complaint against IGS that

contained allegations about improprieties during the litigation and enforcement of the Judgment

(Exh. C, ¶¶12-13, 79-90, 95, 97). The complaint was replete with statements criticizing the

presiding judge’s conduct during the state-court proceedings (Id., ¶¶30-31, 35, 49, 50-69, 95, 98).

Brady’s complaint requested a declaratory judgment finding that there has never been an

enforceable judgment in IGS Realty I (Id., ¶129, 133), the personal guarantees are void (Id., ¶130,

132) and his state court counterclaims should be decided in his favor (Id., ¶131). It also requested

pecuniary relief for fraud in the inducement (Id., ¶137-161 and 184-198), breach of contract

against IGS (Id., ¶¶162-174), negligent misrepresentation (Id., ¶¶175-183), tortious interference

with contract (Id., ¶¶199-202), violations of 42 U.S.C. § 1985 predicated on a conspiracy with a

state actor (Id., ¶¶203-207), negligence and gross negligence (Id., ¶¶208-214), and unjust

enrichment (Id., ¶¶215-219).

       On July 20, 2020, in Brady I, Judge Wang issued a Report (ECF 30) recommending the

dismissal of Brady’s claims. Also, on July 20, 2020, Judge Wang issued an Order (ECF 31) for
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Brady to show cause why the court should not issue a filing injunction against him.

       On August 30, 2020, Brady commenced the present action against Sheindlin by filing his

Complaint. Brady commenced this action despite knowing that Judge Wang’s Report

described similar claims as frivolous, recommended their dismissal and the court was actively

considering whether to grant a filing injunction against further similar claims. Id.

       On September 1, 2020, Brady filed his first Amended Complaint.

       On September 8, 2020, in Brady I, the court issued a Decision (ECF 51) that adopted the

factual findings in Judge Wang’s Report and ordered the dismissal of Brady’s claims against IGS

(Id., pp. 2, 9-15; ECF 50).

       On September 30, 2020, in the present action, Brady filed his SAC. Exh. A. On the same

date, Sheindlin received and email with the SAC attached. Sheindlin Decl. ¶¶ 9, 10. This is when

Sheindlin initially learned about Brady’s action against them. Id.

       On October 13, 2020, in Brady I, the court issued its Decision (ECF 86) granting IGS’

request for a filing injunction. In pertinent, part the Decision stated:

              The instant actions arises from events that have been the subject of lawsuits since
              2009, when defendants IGS Realty L.P. and Philippe Ifrah (the “IGS Defendants”)
              sued Brady for his failure to make payments under personal guarantees (the
              “personal Guarantees”) that he had signed relating to three commercial leases at 336
              West 37th Street in New York City. (the “IGS Lease Agreements”). See, Brady v.
              IGS Realty Co., L.P., No. 19 Civ. 10142 (“IGS Realty II”), Dkt. 1 (“Compl.”) ¶¶6-
              7; IGS Realty Co., L.P. v. Brady (“IGS Realty I”), Index No. 603561/2009 (N.Y.
              Sup. Ct. filed Dec. 2, 2009). See, Brady I (Order, dated 10/13/20; ECF 86). . . .

              Brady lost [the action]. In June 2015, after a trial presided over by New York State
              Supreme Court Justice Barry R. Ostrager, a unanimous jury found Brady in breach
              of the Personal Guarantees of the IGS Lease Agreements and rejected Brady’s
              defenses and counterclaims. See September 8 Opinion at 3. . . .
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              Since those lawsuits arose, Brady has launched a series of actions, in this Court and
              in state court, arising from these events and collaterally attacking aspects of the state
              court proceedings. See July 20 Report at 2-5, 27-28, 32 (collecting instances of
              Brady’s litigation of these and other issues). Most recently (as far as this Court is
              aware), Brady sued IGS Defendants’ lawyer in IGS Realty II concerning his role n
              the events complained of in that case. See Brady v. Sheindlin, No. 20 Civ. 7047,
              Dkts. 1, 6 (S.D.N.Y. filed Aug. 30, 2020).

Id., pp. 2-3. The Decision further stated:

              Perhaps most troubling, in August 2020 – after Judge Wang recommended the
              dismissal of Brady’s claims without leave to replead, and after she ordered Brady
              to show cause why she should not recommend the imposition of a filing injunction
              – Brady filed yet another action concerning the IGS Lease Agreements. See
              Sheindlin, No. 20 Civ. 7047, Dkt. 1 (S.D.N.Y. filed Aug. 30, 2020); see also id.,
              Dkt 6 (“Sheindlin SAC”). This time, he sued the attorney who had represented the
              IGS Defendants in IGS Realty II, Gregory Sheindlin. Sheindlin SAC. The claims in
              that action concern the same state-court adjudication of the validity of the IGS Lease
              Agreements and Brady’s related Personal Guarantees as did IGS Realty II, albeit
              under the guise of different causes of action and legal theories, and against a
              different, but related defendant. See id., ¶¶ 13-15, 40-63. . . . It also confirms a
              disturbing trend in which Brady drags parties into court whose only apparent wrong
              had been to represent his adversaries in litigation. . . .”

Id., p.6.

        On October 20, 2020, Sheindlin filed a letter with the Court that requested it to dismiss

Brady’s action, sua sponte, or, alternatively, to set a motion schedule. Exh. D.

                                             ARGUMENT

        A. The Court lacks Subject Matter Jurisdiction Over the Claims Concerning IGS
           Realty I Because of the Rooker-Feldman Doctrine

        The Rooker-Feldman doctrine reflects “the principle expressed by Congress in 28 U.S.C.

  § 1257, that within the federal judicial system, only the Supreme court may review state-court

  decisions.” Hoblock v. Albany Cnty. Bd. Of Elections, 422 F.3d 77, 85 (2d Cir. 2005). See
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generally D.C. Ct. of Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v. Fidelity Tr. Co., 263

U.S. 413 (1923). Accordingly, it bars federal district courts from exercising jurisdiction over a

suit that is “in fact a collateral attack on a final state court judgment.” Lipin v. Nat’l Union Fire

Ins. Co. of Pittsburgh, 202 F. Supp. 2d 126, 133 (S.D.N.Y. 2002); see Gould v. Airway Off.,

LLC, No. 15 Civ. 7964 (PAE), 2016 WL 3948102, at *3 (S.D.N.Y. July 19, 2016).

     As the Second Circuit has explained, the Rooker-Feldman doctrine applies where four

requirements are met: (1) the federal-court plaintiff lost in state court; (2) the plaintiff complains

of injuries caused by a state-court judgment; (3) the plaintiff invites review and rejection of that

state-court judgment; and (4) the state-court judgment became final before the district court

proceedings commenced. Hoblock, 422 F.3d at 85. “The first and fourth of these requirements

may be loosely termed procedural; the second and third may be termed substantive.” Id.

     Here, the procedural requirements are met. It is undisputed that the federal-plaintiff, Brady,

lost in state court and the judgment became final on May 31, 2017 before the district court

proceedings were commenced. Exh. A, Def. 139-146 [Judgment]. Accordingly, the first and

fourth requirements of the Rooker-Feldman doctrine are satisfied.

     The second and third requirements of the Rooker-Feldman doctrine are satisfied because

throughout Brady’s Complaint he complains of injuries caused by the state-court judgment and

invites review of and rejection of the state-court judgment.

     Based on the foregoing, the Court lacks subject matter jurisdiction over the claims

concerning IGS Realty I because of the Rooker-Feldman doctrine.


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       B. The Doctrines of Res Judicata and Collateral Estoppel Bar Plaintiff’s Claims

       Brady’s action should be dismissed pursuant to res judicata and collateral estoppel. Brady

seeks to do the same thing in the present action as he unsuccessfully tried to do in Brady I, i.e.,

collaterally attack the state-court action. This action should be dismissed in its entirety and with

prejudice for the same reasons cited in the Decision of Brady I (S.D.N.Y. 09/08/2020 at pp. 13-

15).

       C. The Noerr-Pennington Doctrine Bars Plaintiff’s Claims

       Pursuant to the Noerr-Pennington doctrine, courts recognize that a party’s petition to the

government are immune from liability. See Suburban Restoration Co, v. ACMAT Corp., 700

F.2d 98 (2d Cir. 1983). Petitioning activities include filing complaints and other documents in

court in civil actions. See, Ginx, Inc. v. Soho Alliance, 720 F. Supp. 2d 342, 363-64 (S.D.N.Y.

2010). Noerr-Pennington immunity has been extended to RICO actions as well as state law

claims for fraud where such claims are premised on litigation or litigation-related activity. See,

Bath Petroleum Storage, Inc. v. Market Hub Partners L.P., 229 F.3d 1135 (2d Cir., Oct. 11,

2000). And the Noerr-Pennington doctrine is applicable to immunize attorneys of the petitioning

party as their agents. See, Freeman v. Lasky, Haas, Cohler, 410 F.3d 1180, 1186 (9th Cir. 2005).

       Here, as confirmed in the Decision of Brady I (S.D.N.Y., 10/13/2020, p. 6), Brady is

seeking to relitigate and collaterally attack the state court proceedings by suing Sheindlin whose

only apparent wrong had been to represent his adversaries in litigation.




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                                           CONCLUSION
      Defendants request that the Court grant this motion including the dismissal with prejudice

 of plaintiff’s Amended Complaint and grant such other relief as the Court deems just and proper.

Dated: New York, New York
       November 5, 2020

                                         _____________________________
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